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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

                                                           Civil Action No. 12-7758 (ZNQ)(LHG)
    UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,

              v.                                                    FINAL PRETRIAL
                                                                  SCHEDULING ORDER
    JANSSEN PRODUCTS, LP,

                       Defendant.



         THIS MATTER having come before the Court on January 12, 2022, for a case
  management conference; Peter Pearlman, Esq., of Cohn, Lifland, Pearlman, Herrmann & Knopf,
  LLP, Sherrie Savett, Esq., Michael Fantini, Esq., Joy Clairmont, Esq., and William Ellerbe, Esq.,
  of Berger Montague, P.C., appearing on behalf of Relators; Melissa Chuderewicz, Esq., Michael
  Shwartz, Esq., and Abigail Hazlett, Esq., of Troutman Pepper Hamilton Sanders, LLP, appearing
  on behalf of Defendant; and for good cause shown,

         IT IS on this 28th day of January, 2022,

         ORDERED that a Final Pretrial Conference will be held at the Clarkson S. Fisher
  United States Courthouse, Trenton, New Jersey on June 21, 2022 at 2:00 p.m; and it is further

          ORDERED that, unless the parties agree otherwise, counsel for Relators shall serve their
  portion of the Final Pretrial Order on Defendant’s counsel by no later than June 2, 2022; and it is
  further

          ORDERED that, unless the parties agree otherwise, counsel for Defendant shall serve its
  portion of the Final Pretrial Order on Relators’ counsel by no later than June 9, 2022; and it is
  further

        ORDERED that the attorneys for all parties are further directed to meet together by
  agreement, initiated by Relators’ counsel, before the date of the pretrial conference to:

         a.        discuss settlement;

         b.        stipulate to as many facts and issues as possible;

         c.        examine all exhibits and documents proposed to be used at trial;

         d.        complete all other matters which may expedite both the pretrial
                   and trial of the case; and
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         e.     submit one hard copy and one copy via email
                (lhg_orders@njd.uscourts.gov) of the proposed Final Pretrial
                Order by no later than June 16, 2022 to the Court; and it is further

         ORDERED that appropriate markers shall be affixed to the exhibits at or prior to the
  time they are shown to opposing counsel at the meeting of counsel referred to above, and each
  marker will bear the number of the exhibit to which it is affixed; and it is further

         ORDERED that at the pretrial conference counsel should be prepared to discuss
  settlement of the case. Parties are to be available by telephone.




                                                      LOIS H. GOODMAN
                                                      United States Magistrate Judge




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